                                                     March 19, 2019
VIA ECF
The Honorable Sterling Johnson, Jr.
The United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

The Honorable Lois Bloom
The United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

          RE: Missry v. Samuel Messinger, America’s Trust Insurance, and ATI Agency, Inc.
              Case No.: 1:18-cv-07226-SJ-LB

Dear Judge Johnson and Judge Bloom,
        This office represents the plaintiffs in the above-captioned Telephone Consumer
Protection Act class action.
       Pursuant to Judge Bloom’s Order of February 28, 2019, the Defendants served a motion
to dismiss plaintiffs’ claims on March 14, 2019.
        Under III. E. of Judge Sterling’s individual rules, the parties have agreed that plaintiffs
will serve their opposition to the motion by May 3, 2019, and defendants will serve their reply by
May 24, 2019.
          The parties jointly request that this schedule be approved.
                                                 Respectfully submitted,

                                       THE SULTZER LAW GROUP P.C.




                                                      Adam Gonnelli

cc: All Counsel of Record via ECF

280 Highway 35, Suite 304 │Red Bank, New Jersey 07701 │Phone (845) 483-7100 │Fax: (888) 749-7747│thesultzerlawgroup.com
